                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


In the Matter of:                                               In Bankruptcy

KEVIN ROLAND IOTT and                                           Case No. 09-48174 SWR
LAURA SUE IOTT,                                                 Chapter 7
                                                                Hon. Steven W. Rhodes
     Debtor(s).
___________________________________/


                    ORDER CONFIRMING SALE OF INTERESTS IN
                           POSEY LAKE ESTATES LLC

       Notice of the Trustee’s Motion for Authority to Convey Interests of Estate in Posey

Lake Estates LLC was served on all parties in interest together with notice of opportunity

to bid, object of request a hearing.

       No objections or hearing requests were timely filed.

       IT IS HEREBY ORDERED that the Trustee may convey the Posey Lake real

property to Fifth Third Bank for the sum of $1,500.00 and pay Debtors’ allowed exemption

claim from the sale proceeds.


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Signed on December 04, 2009
                                                                 /s/ Steven Rhodes
                                                         Steven Rhodes
                                                         United States Bankruptcy Judge




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